USCA11 Case: 24-12311   Document: 103      Date Filed: 01/11/2025     Page: 1 of 71


                              No. 25-10076


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT


                    UNITED STATES OF AMERICA,

                                          Appellant,

                                    v.

             WALTINE NAUTA and CARLOS DE OLIVEIRA,

                                          Defendants-Appellees.


              On Appeal from the United States District Court
                   for the Southern District of Florida


     EMERGENCY MOTION FOR SUMMARY REVERSAL OF
DISTRICT COURT INJUNCTION AND FOR CONSOLIDATION WITH
                    CASE NO. 24-12311


                                         BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney
                                              General
                                         MARKENZY LAPOINTE
                                          United States Attorney
                                         MARK R. FREEMAN
                                          Appellate Staff
                                          Civil Division, Room 7519
                                          U.S. Department of Justice
                                          950 Pennsylvania Avenue NW
                                          Washington, DC 20530
                                          (202) 514-5714
USCA11 Case: 24-12311            Document: 103   Date Filed: 01/11/2025   Page: 2 of 71
                           United States v. Nauta, No. 25-10076

               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Eleventh Circuit Rule 26.1-1, counsel for Plaintiff-Appellant the

United States of America certify that the following have an interest in the outcome of

this appeal:


       1.      Advance Publications, Inc.

       2.      Alonso, Cristina

       3.      America First Legal Foundation

       4.      America First Policy Institute

       5.      America’s Future

       6.      American Broadcasting Companies, Inc., d/b/a ABC News

       7.      American Center for Law and Justice

       8.      Ayer, Donald

       9.      Bell, Daniel W.

       10.     Berry, Michael

       11.     Bird, Brenna

       12.     Blackman, Joshua

       13.     Blanche, Todd

       14.     Bloomberg, L.P.

       15.     Bondi, Pamela J.

  * Additions to previous certificate marked with an asterisk.

                                         C-1 of 11
USCA11 Case: 24-12311       Document: 103   Date Filed: 01/11/2025   Page: 3 of 71
                       United States v. Nauta, No. 25-10076

    16.   Boos, Michael

    17.   Bove, Emil

    18.   Bowman, Chad

    19.   Bratt, Jay

    20.   Cable News Network, Inc.

    21.   Calabresi, Steven

    22.   Caldera, Louis

    23.   Cannon, Hon. Aileen

    24.   Cate, Matthew

    25.   CBS Broadcasting, Inc. o/b/o CBS News

    26.   Citizens for Responsibility and Ethics in Washington

    27.   Citizens United

    28.   Citizens United Foundation

    29.   Clark, Jeffrey B.

    30.   CMG Media Corporation

    31.   Coleman, Russell

    32.   Coleman, Tom

    33.   Commonwealth of Kentucky

    34.   Conservative Legal Defense and Education Fund

    35.   Conway, George

    36.   Cooney, J.P.
                                    C-2 of 11
USCA11 Case: 24-12311        Document: 103   Date Filed: 01/11/2025   Page: 4 of 71
                       United States v. Nauta, No. 25-10076

    37.   Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-Constitution

    38.   Cynkar, Robert J.

    39.   Dadan, Sasha

    40.   De Oliveira, Carlos

    41.   Dow Jones & Company, Inc., publisher of The Wall Street Journal

    42.   Dreeben, Michael

    43.   Drummond, Gentner

    44.   Edelstein, Julie

    45.   Ekonomou, Andrew J.

    46.   Fields, Lazaro

    47.   Fitzgerald, Patrick

    48.   Forrester, Nathan A.

    49.   Fort Myers Broadcasting Company

    50.   Freeman, Mark R.

    51.   Fugate, Rachel

    52.   Garland, Merrick B.

    53.   Gerson, Stuart

    54.   Gertner, Nancy

    55.   Gilbert, Karen E.

    56.   Gillers, Stephen

    57.   Goodman, Hon. Jonathan
                                     C-3 of 11
USCA11 Case: 24-12311        Document: 103     Date Filed: 01/11/2025   Page: 5 of 71
                          United States v. Nauta, No. 25-10076

    58.   Gray Media Group, Inc. (GTN)

    59.   Griffin, Tim

    60.   Guardian News & Media Limited

    61.   Gun Owners Foundation

    62.   Gun Owners of America

    63.   Gun Owners of California

    64.   Harbach, David

    65.   Heigis, Eric

    66.   Henneke, Robert

    67.   Hilgers, Michael T.

    68.   Hirsch, Steven A.

    69.   Hulser, Raymond

    70.   Insider, Inc.

    71.   Irving, John

    72.   Jackley, Marty J.

    73.   Jorjani, Daniel H.

    74.   Kise, Christopher

    75.   Klugh, Jr., Richard Carroll

    76.   Klukowski, Kenneth A.

    77.   Knudsen, Austin

    78.   Kobach, Kris
                                       C-4 of 11
USCA11 Case: 24-12311       Document: 103   Date Filed: 01/11/2025   Page: 6 of 71
                       United States v. Nauta, No. 25-10076

    79.   Kozinski, Alex

    80.   Labrador, Raúl R.

    81.   Lacovara, Philip Allen

    82.   Landmark Legal Foundation

    83.   Lapointe, Markenzy

    84.   Lawson, Gary

    85.   Los Angeles Times Communications LLC, publisher of The Los Angeles
          Times

    86.   MacDougald, Harry W.

    87.   Marshall, Steve

    88.   Maynard, Hon. Shaniek Mills

    89.   McElroy, Dana J.

    90.   McKay, John

    91.   McNamara, Anne

    92.   McSweeney, Patrick M.

    93.   Meese, Edwin

    94.   Miller, Justin A.

    95.   Miller, Matthew

    96.   Mishkin, Maxwell

    97.   Moelker, Nathan J.

    98.   Monson, Darrick W.

                                    C-5 of 11
USCA11 Case: 24-12311        Document: 103   Date Filed: 01/11/2025   Page: 7 of 71
                      United States v. Nauta, No. 25-10076

    99.   Moody, Ashley

    100. Morgan, Jeremiah L.

    101. Morrisey, Patrick

    102. Mukasey, Hon. Michael B.

    103. Murrell, Larry Donald

    104. National Cable Satellite Corporation d/b/a C-SPAN

    105. National Public Radio, Inc.

    106. Nauta, Waltine

    107. NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of Comcast
         Corporation (CMCSA)

    108. Nielson, Aaron L.

    109. Olson, William J.

    110. One Nation Under God Foundation

    111. Orlando Sentinel Media Group, publisher of the Orlando Sentinel

    112. Paxton, Ken

    113. Pearce, James

    114. Pellettieri, John

    115. Pettit, Lanora C.

    116. POLITICO LLC

    117. Potter, Trevor

    118. Public Advocate of the United States

                                     C-6 of 11
USCA11 Case: 24-12311      Document: 103    Date Filed: 01/11/2025   Page: 8 of 71
                       United States v. Nauta, No. 25-10076

    119. Radio Television Digital News Association

    120. Raul, Alan Charles

    121. Ray, Robert W.

    122. Reinhart, Hon. Bruce E.

    123. Reuters News & Media, Inc.

    124. Reyes, Sean

    125. Rokita, Theodore E.

    126. Roth, Stuart J.

    127. Russell, Lauren

    128. Salario, Samuel

    129. Sample, James J.

    130. Sasso, Michael

    131. Schaerr, Gene

    132. Sekulow, Jay Alan

    133. Sekulow, Jordan

    134. Seligman, Matthew

    135. Sisney, Benjamin P.

    136. Skrmetti, Jonathan

    137. Smith, Abbe

    138. Smith, Fern

    139. Smith, Jack
                                    C-7 of 11
USCA11 Case: 24-12311       Document: 103   Date Filed: 01/11/2025   Page: 9 of 71
                      United States v. Nauta, No. 25-10076

    140. State Democracy Defenders Action

    141. State of Alabama

    142. State of Alaska

    143. State of Arkansas

    144. State of Florida

    145. State of Idaho

    146. State of Indiana

    147. State of Iowa

    148. State of Kansas

    149. State of Louisiana

    150. State of Mississippi

    151. State of Missouri

    152. State of Montana

    153. State of Nebraska

    154. State of Oklahoma

    155. State of South Carolina

    156. State of South Dakota

    157. State of Tennessee

    158. State of Texas

    159. State of Utah

    160. State of West Virginia
                                    C-8 of 11
USCA11 Case: 24-12311      Document: 103     Date Filed: 01/11/2025   Page: 10 of 71
                        United States v. Nauta, No. 25-10076

     161. Steinman, Jessica Hart

     162. Sun-Sentinel Company, LLC, publisher of the South Florida Sun Sentinel

     163. TEGNA, Inc. (TGNA)

     164. Telemundo Network Group, LLC d/b/a Noticias Telemundo

     165. Texas Public Policy Foundation

     166. Thakur, Michael

     167. The Associated Press

     168. The E.W. Scripps Company (SSP)

     169. The McClatchy Company, LLC (MNI) d/b/a the Miami Herald

     170. The New York Times Company (NYT)

     171. The Palm Beach Post and USA TODAY, publications operated by
          subsidiaries of Gannett Co., Inc. (GCI)

     172. Thompson, Larry

     173. Tillman, Seth Barrett

     174. Tobin, Charles

     175. Torres, Hon. Edwin

     176. Treg, Taylor

     177. Trent, Edward H.

     178. Tribe, Laurence

     179. Troye, Olivia

     180. Trump, Donald J.

                                     C-9 of 11
USCA11 Case: 24-12311     Document: 103      Date Filed: 01/11/2025   Page: 11 of 71
                        United States v. Nauta, No. 25-10076

     181. Trusty, James

     182. Twardy, Stanley

     183. United States of America

     184. Univision Networks & Studios, Inc.

     185. U.S. Constitutional Rights Legal Defense Fund

     186. VanDevender, Cecil

     187. Webster, Brent

     188. Weiss, Stephen

     189. Weld, William

     190. Weldon, Chance

     191. Wessan, Eric H.

     192. Wharton, Kendra

     193. Whitaker, Henry C.

     194. Whitaker, Matthew

     195. Whitman, Christine Todd

     196. Wilson, Alan

     197. Woodward, Stanley

     198. WP Company LLC d/b/a The Washington Post




                                    C-10 of 11
USCA11 Case: 24-12311     Document: 103      Date Filed: 01/11/2025   Page: 12 of 71
                        United States v. Nauta, No. 25-10076

     199. WPLG, Inc.

                                      Respectfully submitted,


                                      By:    /s/ Mark R. Freeman
                                             MARK R. FREEMAN




                                    C-11 of 11
USCA11 Case: 24-12311                      Document: 103               Date Filed: 01/11/2025                 Page: 13 of 71


                                            TABLE OF CONTENTS

                                                                                                                            Page

INTRODUCTION ..................................................................................................................1

BACKGROUND......................................................................................................................4

ARGUMENT ......................................................................................................................... 10

I.        This Court Has Jurisdiction To Review The District Court’s Injunction ......... 11

II.       The District Court’s Injunction Is Unnecessary And Contrary to Law ............. 12

CONCLUSION ..................................................................................................................... 17

CERTIFICATE OF COMPLIANCE
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025     Page: 14 of 71


                                 INTRODUCTION

       This appeal (Case No. 25-10076) concerns a question that was the subject of

recent emergency motions practice in Case No. 24-12311, an appeal already pending

in this Court that arose from the same district court case. The United States

respectfully requests that this appeal be consolidated with the prior appeal. See 11th

Cir. R. 12-2.

       At issue is an injunction barring dissemination of the Final Report that Special

Counsel Smith recently submitted to the Attorney General pursuant to Justice

Department regulations. See 28 C.F.R. § 600.8(c) (“Closing documentation”). That

Final Report comprises two volumes. Volume One concerns the Special Counsel’s

investigation and prosecution relating to the 2020 presidential election in Washington,

D.C. (Election Case). Volume Two concerns the Special Counsel’s investigation and

prosecution of defendants-appellees Waltine Nauta and Carlos De Oliveira, as well as

President-elect Trump, relating to the mishandling of classified documents (Classified

Documents Case).

       Under Justice Department regulations, the Attorney General “may determine

that public release of these reports would be in the public interest, to the extent that

release would comply with applicable legal restrictions.” 28 C.F.R. § 600.9(c). In

practice, given the enormous public interest that frequently attends matters Special

Counsels are charged with investigating, cf. 28 C.F.R. § 600.1 (grounds for

appointment), Attorneys General have generally approved the public release of the
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 15 of 71


final reports issued by Special Counsels, subject to any prohibitions under law, such as

for classified or grand jury material, and necessary redactions. Earlier in the Biden

administration, for example, Attorney General Garland publicly released the final

reports of Special Counsel Hur and Special Counsel Durham (except for a classified

appendix); likewise, during the first Trump administration, Attorney General Barr

publicly released the final report of Special Counsel Mueller.

      In this case, the Attorney General has determined that it is appropriate to

publicly release Volume One of the Final Report, if the Court permits. On the other

hand, to avoid any risk of prejudice to defendants Nauta and De Oliveira, the

Attorney General has determined, at the recommendation of the Special Counsel, that

he will not publicly release Volume Two of the Final Report, which relates to the

Classified Documents Case, so long as defendants’ criminal proceedings remain

pending. If permitted by the Court, the Attorney General does, however, intend to

make Volume Two available for in camera review by the Chairmen and Ranking

Members of the House and Senate Judiciary Committees upon their request and

agreement not to publicly release any information from that review.

      This appeal concerns an injunction entered by the district court temporarily

enjoining all dissemination of both volumes of the Final Report. See Addendum

(Add.) A. On January 6 and 7, defendants Nauta and De Oliveira filed motions for

emergency injunctive relief both in the district court and in this Court. The district


                                            2
USCA11 Case: 24-12311         Document: 103      Date Filed: 01/11/2025     Page: 16 of 71


court deferred to this Court but entered a temporary injunction that bars the Attorney

General from sharing the Final Report with anyone outside the Department of Justice

until “three days after” this Court’s resolution of the parallel motion in this Court.

Add. A; see Dkt. No 682 at 2. The district court’s injunction blocks the release of the

entire Final Report, including Volume One, which does not concern either Nauta or

De Oliveira. And it bars the Attorney General from making any portion of the Final

Report available even for in camera review by the Chairmen and Ranking Members of

the House and Senate Judiciary Committees under conditions designed to protect its

confidentiality.

       This Court, after considering defendants’ fully briefed motion and supporting

amicus briefs, denied defendants’ motion for injunctive relief. Add. B; see Order 2,

United States v. Nauta, No. 24-12311 (Jan. 9, 2025 11th Cir.) (Order Denying

Emergency Inj.). In denying defendants’ motion, this Court explained that if the

United States affirmatively “seeks relief from the district court’s . . . order temporarily

enjoining” dissemination of the Final Report, it “may file a notice of appeal from that

order.” Order Denying Emergency Inj. 2.

       This is the government’s appeal from the district court’s temporary injunction.

Defendants have now asked the district court to extend its temporary injunction

indefinitely and to conduct hearings regarding the propriety of the Attorney General’s

release of the Final Report. Add. D. The United States respectfully requests that the


                                             3
USCA11 Case: 24-12311            Document: 103   Date Filed: 01/11/2025    Page: 17 of 71


Court summarily reverse the district court’s injunction for substantially the same

reasons that supported denial of defendants’ motion for injunctive relief in this Court.

At a minimum, the Court should immediately reverse the injunction to the extent it

applies to Volume One. That volume has nothing to do with these defendants, and

the district court had no authority to enjoin the release of a report about a different

case against a different defendant that was bought (and since dismissed) in a different

court. Because the government is likely to succeed on the merits, and because the

irreparable harm to the United States and the public interest far exceeds any injury to

defendants from allowing the Attorney General to proceed as he has proposed,

summary reversal is warranted.

                                     BACKGROUND

       1. Department of Justice regulations authorize the Attorney General to

appoint a Special Counsel to oversee a criminal investigation under certain prescribed

circumstances. See 28 C.F.R. § 600.1. The Special Counsel regulations further provide

that, “[a]t the conclusion of the Special Counsel’s work, he or she shall provide the

Attorney General with a confidential report explaining the prosecution or declination

decisions reached by the Special Counsel.” Id. § 600.8(c). The Attorney General then

has the discretion to determine whether “public release of these reports would be in

the public interest, to the extent that release would comply with applicable legal

restrictions.” Id. § 600.9(c).


                                             4
USCA11 Case: 24-12311         Document: 103     Date Filed: 01/11/2025     Page: 18 of 71


       2. Special Counsel Smith was appointed by the Attorney General to investigate

certain matters. Office of the Attorney Gen., Order No. 5559-2022, Appointment of

John L. Smith as Special Counsel ¶ (c) (Nov. 18, 2022). Those investigations resulted in

two separate prosecutions. The indictment from which this litigation arises alleged

that President-elect Trump willfully retained national defense information, and it

charged Trump, Nauta, and De Oliveira with multiple counts, including obstructing

and conspiring to obstruct an official proceeding and making false statements. Dkt.

85. That indictment was dismissed by the district court as to all three defendants, and

the United States appealed.

       The other proceeding, brought in the District of Columbia, concerned the

Election Case. Neither Nauta or De Oliveira were defendants or otherwise implicated

in that case.

       3. After President Trump’s re-election, the Special Counsel dismissed the

proceeding in the District of Columbia. In this case, the Special Counsel withdrew

the government’s appeal of the dismissal of the indictment against Trump, but

maintained the appeal as to the other two defendants. Responsibility for the case was

then transferred to the U.S. Attorney for the Southern District of Florida.

       4. The Special Counsel’s Final Report for the Attorney General (see 28 C.F.R.

§ 600.8(c)) was structured with two separate volumes, the first devoted to the Election

Case and the second devoted to the subject matter of this litigation, the Classified


                                            5
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 19 of 71


Documents Case. Although not required by the applicable regulations, the Special

Counsel, consistent with an example set by Special Counsel Hur, allowed counsel for

all three defendants to review the draft report. Counsel for President-elect Trump

was provided an opportunity to review both volumes of the Final Report. Counsel

for Nauta and De Oliveira were allowed to review Volume Two (the volume relevant

to them).

      5. On January 6, defendants Nauta and De Oliveira filed an emergency motion

in the district court seeking to enjoin the Special Counsel from transmitting the Final

Report to the Attorney General and the Attorney General from releasing any portion

of the Final Report. Dkt. 679. President-elect Trump filed a motion to intervene in

the proceeding to support the remaining defendants’ emergency motion. Dkt. 681.

The morning of January 7, defendants Nauta and De Oliveira sought similar

emergency relief from this Court by filing a motion on the docket for the United

States’ appeal from the dismissal order, Case No. 24-12311.

      Shortly before noon on January 7, the district court issued an order stating that

“[p]ending resolution of the Emergency Motion filed in the Eleventh Circuit and/or

any further direction from the Eleventh Circuit” various government officials,

including the Attorney General, are temporarily enjoined from releasing or sharing the

Final Report “outside the Department of Justice.” Add. A; see Dkt. 682 at 2. The

order specified that this prohibition would “remain[] in effect until three days after


                                            6
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 20 of 71


resolution by the Eleventh Circuit of the Emergency Motion, unless the Eleventh

Circuit orders otherwise.” Id. (emphasis omitted). The order did not preclude the

Special Counsel from transmitting the Final Report to the Attorney General. The

court further noted that its order “shall not be construed as a final ruling on the

merits of the Emergency Motion, which remains pending before this Court subject to

any directives from the Eleventh Circuit.” Id. at 3. The order did not address

President-elect Trump’s motion for intervention, which remains pending.

      6. On the evening of January 7, both volumes of the Final Report were

transmitted by the Special Counsel to the Attorney General, as permitted by the

district court’s order. Consistent with Justice Department practice, the Attorney

General did not review the report before its transmission. Because Volume Two

concerns this prosecution in this case and the case remains pending on appeal as to

defendants Nauta and De Oliveira, the Special Counsel explained in his cover letter to

the Attorney General that, “consistent with Department policy, Volume Two should

not be publicly released while their case remains pending.” The Special Counsel

further explained that “[b]oth volumes minimize the identification of witnesses and

co-conspirators, consistent with accepted Department practice, and we have provided

a redacted version of Volume Two that identifies certain information that remains

under seal or is restricted from public disclosure by Federal Rule of Criminal

Procedure 6(e).”


                                            7
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 21 of 71


        Consistent with the Special Counsel’s recommendation, and Southern District

of Florida Local Rule 77.2, the Attorney General does not intend to make Volume

Two of the Final Report public while the case against Nauta and De Oliveira remains

pending. But in light of congressional interest in the work of Special Counsel Smith,

the Department of Justice, if permitted, intends to make Volume Two available to

certain members of Congress on a limited basis. Specifically, if permitted, a redacted

version of Volume Two of the Final Report (redacting only grand-jury and sealed

information that the Department is prohibited by law or court order from

disseminating), together with the appendices for Volume Two, will be made available

to the Chairmen and Ranking Members of the House and Senate Judiciary

Committees for review in camera upon their request and agreement prohibiting any

public release of the Final Report’s contents. Cf. 28 C.F.R.§ 600.9(a). The redacted

version of Volume Two submitted by Special Counsel Smith that will be provided for

limited congressional review, if permitted by relevant court orders, redacts all

information that remains under seal or is restricted from public disclosure under Rule

6(e).

        As noted above, the Attorney General intends to publicly release Volume One

and to make it available to Congress, if permitted by relevant court orders. Volume

One does not contain any information restricted from public disclosure under Rule




                                            8
USCA11 Case: 24-12311         Document: 103      Date Filed: 01/11/2025     Page: 22 of 71


6(e) or any sealed information. Nor does Volume One mention defendants Nauta or

De Oliveira or their conduct at issue in this case.

       7. On the evening of January 9, this Court issued an Order denying the motion

for an emergency injunction filed by defendants Nauta and De Oliveira. Add. B; see

Order Denying Emergency Inj. 2. The Court further specified that, if the Appellant

(i.e., the United States) “seeks relief from the district court’s January 7, 2025, order

temporarily enjoining Appellant, Appellant may file a notice of appeal from that

order.” Id. That same evening, the United States noticed this appeal seeking review

of the district court’s temporary injunction and notified this Court that it had done so,

requesting that this Court therefore vacate the district court’s temporary injunction.

See Doc. 101 (Case No. 24-12311). Defendants today filed a response to that notice

and moved to strike it, on the grounds that the government should have sought relief

by making a filing in the newly opened appeal (this case, No. 25-10076). See Doc. 102

(Case No. 24-12311).

       8. Also today, defendants filed a new motion asking the district court to extend

its injunction. Add. D; see Dkt. No. 689. The motion requests an order from the

district court “maintaining the status quo pending the resolution of proceedings on a

separate appellate motion for emergency relief, continues in effect pending resolution

of all appellate matters arising from such appellate litigation.” Id. at 1. Alternatively,

the defendants’ motion asks the district court to “extend its present status quo order


                                             9
USCA11 Case: 24-12311         Document: 103       Date Filed: 01/11/2025     Page: 23 of 71


to such time as this Court resolves the Defendants’ pending emergency request for

injunctive relief.” In support of their request for a further injunction from the district

court, defendants asserted that this Court “clearly signaled that it views the questions

raised by this dispute as properly before [the district court] in the first instance.” Id. at

3. The motion asks the district court to hold a hearing on defendants’ original

emergency motion. Id. at 4-5.

                                      ARGUMENT

       This Court should summarily reverse the district court’s temporary injunction,

which is unnecessary and contrary to law. That is indisputable as to Volume One,

which does not relate to defendants or the case before the district court. And as we

have explained, the Attorney General will not publicly release Volume Two of the

Final Report while criminal proceedings against defendants remain pending. There is

therefore no risk of prejudice to defendants and no basis for an injunction as to

Volume Two either. At the same time, the United States and the public interest face

significant injury from the district court’s ongoing injunction. This Court already

denied defendants’ motion requesting an injunction on the same terms as the

temporary one granted by the district court. Under these unusual circumstances, and

given the clarity of the legal issues, the United States asks that the Court summarily

reverse the district court’s injunction.




                                             10
USCA11 Case: 24-12311        Document: 103       Date Filed: 01/11/2025    Page: 24 of 71


I.    This Court Has Jurisdiction To Review The District Court’s
      Injunction

      The district court “temporarily enjoined” (Dkt. 682 at 2) the Attorney General

and other officials from sharing any portion of the Final Report outside the

Department of Justice. That order did not merely preserve the status quo to allow

this Court to hear defendants’ emergency motion in Case No. 24-12311, but rather

imposed relief for three days beyond this Court’s denial of defendants’ motion. Id.

That order is properly construed as injunctive in nature, and this Court can review

that order pursuant to 28 U.S.C. § 1292(a). Indeed, this Court has already indicated

that the government may seek review of the district court’s order by “fil[ing] a notice

of appeal.” See Order Denying Emergency Inj. 2.

      Defendants may argue that the district court’s injunction should be treated as a

temporary restraining order, which is normally not appealable under Section 1292. See

Pearson v. Kemp, 831 F. App’x 467, 471 (11th Cir. 2020). But the district court did not

frame its order in those terms or cite the TRO provisions of Rule 65(b) of the Federal

Rules of Civil Procedure—which is perhaps unsurprising for an injunctive order

issued in a criminal case. Instead, the district court enjoined the actions of the

Attorney General pending this Court’s resolution of a parallel motion—and then

added an extra three days of injunction. That is not a traditional TRO, but an

unjustified prohibitory injunction. Under the circumstances, furthermore, even if

analyzed as a TRO, the district court’s January 7 injunction would be appealable: this

                                            11
USCA11 Case: 24-12311         Document: 103       Date Filed: 01/11/2025     Page: 25 of 71


Court has recognized that “when a grant or denial of a TRO might have a serious,

perhaps irreparable, consequence, and can be effectually challenged only by immediate

appeal, we may exercise appellate jurisdiction.” Schiavo ex rel. Schindler v. Schiavo, 403

F.3d 1223, 1225 (11th Cir. 2005).

       In any case, to the extent there is any doubt concerning the Court’s authority to

review the temporary injunction, we respectfully request that the Court construe our

appeal as a petition for a writ of mandamus and grant relief on that basis. See Suarez-

Valdez v. Shearson Leahman/American Express, Inc., 858 F.2d 648, 649 (11th Cir. 1988)

(holding that appeal can be construed as a petition for mandamus if the Court harbors

doubts as to its appellate jurisdiction); see also 28 U.S.C. § 1651 (providing that courts

“may issue all writs necessary or appropriate in aid of their respective jurisdictions and

agreeable to the usages and principles of law”).

II.    The District Court’s Injunction Is Unnecessary And Contrary to
       Law

       On the merits, the district court’s injunction cannot be sustained. It intrudes

without basis on the Attorney General’s prerogative to manage the affairs of the

Justice Department, including to determine whether to make public a report prepared

by subordinate officials within the Department, cf. 28 U.S.C. § 509, as well as on the

authority expressly recognized in Justice Department regulations to “determine that

public release” of a Special Counsel report “would be in the public interest,” 28

C.F.R. § 600.9(c). As explained in greater length in the United States’ opposition to

                                             12
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 26 of 71


defendants’ motion in Case No. 24-12311 (see Add. C), defendants offer no cognizable

basis for restricting the Attorney General’s discretion in this regard. Indeed, this

Court denied defendants’ motion.

      Defendants’ primary contention in seeking injunctive relief has been that an

injunction is necessary to prevent prejudice in the still-ongoing criminal case against

them. The Department of Justice, however, is committed to ensuring the integrity of

the Department’s criminal prosecutions as long as they remain pending. To prevent

the risk of prejudice to defendants Nauta’s and De Oliveira’s criminal case, the

Attorney General has agreed with the Special Counsel’s recommendation that Volume

Two of the Final Report should not be publicly released while the case against the

defendants remains pending. See 28 C.F.R. § 600.9(c). If permitted, the Attorney

General does intend to make Volume Two of the Final Report available for in camera

review only by the Chairmen and Ranking Members of the House and Senate

Judiciary Committees, pursuant to restrictions to protect confidentiality. Even then,

however, consistent with legal requirements, the version of the report prepared by

Special Counsel Smith that the Department will make available in camera for

congressional review (if permitted) redacts grand jury information protected by Rule

6(e) as well as information sealed by court order. There is therefore no risk of

prejudice to defendants and no basis for an injunction against the Attorney General.

The balance of harms plainly favors summary reversal.


                                           13
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 27 of 71


      The district court’s injunction is even more plainly erroneous with respect to

Volume One of the Final Report. The Attorney General has determined, consistent

with 28 C.F.R. § 600.9(c), that immediate public release of Volume One would be in

the public interest. But that Volume concerns the Election Case; it does not concern

defendants Nauta or De Oliveira. Defendants identify no plausible theory of Article

III standing that would justify this Court in enjoining, at defendants’ behest, the

Attorney General’s disposition of a volume of the Final Report that does not

implicate them. See TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021) (explaining

that because “standing is not dispensed in gross,” parties “must demonstrate

standing” for “each form of relief that they seek.”). Indeed, with respect to Volume

One of the Final Report, defendants are hardly differently situated than any other

member of the public.

      Though the district court entered its injunction before deciding President-elect

Trump’s motion to intervene, he too would have no basis to seek to block the public

release of Volume One of the Final Report. In particular, none of the arguments

raised by defendants Nauta and De Oliveira regarding prejudice to their potential

defenses to prosecution in this matter would apply, since the President-elect is no

longer a defendant in any Special Counsel matter. And even if the President-elect had

colorable legal grounds for seeking to block the public release of Volume One, there

would be no basis for seeking that relief by attempting to intervene in this separate


                                           14
USCA11 Case: 24-12311        Document: 103       Date Filed: 01/11/2025     Page: 28 of 71


criminal case. Whatever authority a district court might have to enjoin the release of

information about a criminal case pending before that court, it has no authority to

block the release of information about a different case against a different defendant in

a different court.

       2. Beyond the now-allayed concerns about prejudice to the defendants in the

Classified Documents Case, there is no plausible basis for injunctive relief as to either

volume of the report. The defendants have argued at length that the Special Counsel

is not, in fact, a valid Special Counsel, and therefore cannot prepare or transmit a valid

Special Counsel report to the Attorney General. The United States has explained in

its merits briefs in Case No. 24-12311 the multiple errors in defendants’

appointments- and appropriations-related arguments. See also, e.g., United States v.

Nixon, 418 U.S. 683, 694 (1974) (concluding with respect to Special Counsel Cox that

the Attorney General has “the power to appoint subordinate officers to assist him in

the discharge of his duties”); In re Grand Jury Investigation, 916 F.3d 1047, 1053 (D.C.

Cir. 2019) (rejecting analogous challenge to appointment of Special Counsel Mueller).

But, in any event, those arguments are irrelevant at this stage in light of the Special

Counsel’s transmission of the Final Report to the Attorney General. All that is left is

for the Attorney General to determine how to handle that report, and his authority in

this respect is clear.




                                            15
USCA11 Case: 24-12311        Document: 103      Date Filed: 01/11/2025    Page: 29 of 71


      Even if one accepted arguendo defendants’ premise that the Special Counsel

was invalidly appointed, it still would not follow that the Final Report was somehow

improper. There can be no serious question that the Attorney General had, at a

minimum, the statutory authority to hire Jack Smith and his staff as employees of the

Department of Justice. See 5 U.S.C. § 3101. The Supreme Court has recognized that

investigative reports can be prepared by individuals who have not been appointed as

officers of the United States. See Buckley v. Valeo, 424 U.S. 1, 137 (1976) (per curiam)

(holding that non-officers can perform tasks of “an investigative and informative

nature”). There is, therefore, no appointments-based reason to doubt Special Counsel

Smith’s authority to draft a report summarizing the activities of his office—much less

to prevent the Attorney General from receiving or disposing of that report under

Department regulations.

      The Attorney General is the Senate-confirmed head of the Department of

Justice and is vested with the authority to supervise all officers and employees of the

Department. The Attorney General thus has authority to decide whether to release an

investigative report prepared by his subordinates. That authority is inherent in the

office of Attorney General, cf. 28 U.S.C. § 509; it does not depend on the lawfulness

of the Special Counsel’s appointment to take actions as an inferior officer of the

United States or on the Department’s specific regulations authorizing the Attorney

General to approve the public release of Special Counsel reports, see 28 C.F.R.


                                           16
USCA11 Case: 24-12311        Document: 103       Date Filed: 01/11/2025    Page: 30 of 71


§ 600.9(c). Indeed, the Attorney General would have the authority to decide whether

to publicly release a report prepared and provided to the Department by wholly

private citizens. Defendants’ objections to the Special Counsel’s appointment thus

simply have no bearing on the Attorney General’s authority here.

      As we explained in opposing injunctive relief in Case No. 24-12311,

defendants’ other legal theories are equally baseless.

                                   CONCLUSION

      We respectfully request that this Court (i) consolidate this appeal with Case No.

24-12311; and (ii) immediately and summarily reverse the district court’s temporary

injunction in full. And at a minimum, the Court should immediately and summarily

reverse the injunction to the extent it applies to Volume One of the Final Report,

which does not relate to these defendants.

                                                Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney
                                                     General
                                                MARKENZY LAPOINTE
                                                 United States Attorney
                                                s/ Mark R. Freeman
                                                MARK R. FREEMAN
                                                  Director, Appellate Staff
                                                  Civil Division, Room 7519
                                                  U.S. Department of Justice
                                                  950 Pennsylvania Avenue NW
                                                  Washington, DC 20530
                                                  (202) 514-5714


                                           17
USCA11 Case: 24-12311   Document: 103   Date Filed: 01/11/2025   Page: 31 of 71


                                          Mark.freeman2@usdoj.gov

January 2025




                                   18
USCA11 Case: 24-12311       Document: 103     Date Filed: 01/11/2025   Page: 32 of 71


                      CERTIFICATE OF COMPLIANCE

      This filing complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 3,915 words. This brief also complies with

the typeface and type-style requirements of Federal Rules of Appellate Procedure

27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft Word in

Garamond 14-point font, a proportionally spaced typeface.



                                               s/ Mark R. Freeman
                                              MARK R. FREEMAN
USCA11 Case: 24-12311   Document: 103   Date Filed: 01/11/2025   Page: 33 of 71




                        Addendum A
Case 9:23-cr-80101-AMC Document 682 Entered on FLSD Docket 01/07/2025 Page 1 of 3
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 34 of 71


                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

                                    CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

         Defendants.
                                        /

                                               ORDER

         Before the Court is an Emergency Motion filed on January 6, 2025, by Defendants Waltine

  Nauta and Carlos De Oliveira to Preclude Release of a Final Report by Special Counsel Jack Smith

  [ECF No. 679]. The Emergency Motion seeks a ruling by January 10, 2025, and contains an

  appropriate certification under Local Rule 7.1(d) and a request for a hearing. S.D. Fla. L.R. 7.1(d).

  The Emergency Motion, filed to preserve the status quo, seeks immediate injunctive relief to

  prevent irreparable injury from the reported imminent release to the public of a Final Report

  prepared by Special Counsel Smith. This morning, Defendants filed a nearly identical emergency

  motion before the United States Court of Appeals for the Eleventh Circuit in a pending appeal by

  the Special Counsel of an Order Granting Defendants’ Motion to Dismiss Superseding Indictment

  Based on Appointments Clause Violation [ECF No. 672]. See 11th Cir. Case No. 24-12311

  (ECF No. 85). The appellate motion seeks additional specific relief in the form of a stay or

  injunction pending appeal, Fed. R. App. P. 8, along with an order remanding to this Court for
Case 9:23-cr-80101-AMC Document 682 Entered on FLSD Docket 01/07/2025 Page 2 of 3
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 35 of 71
                                                CASE NO. 23-80101-CR-CANNON


  consideration of the legality of any public release of the Final Report pending resolution of the

  ongoing appeal. See 11th Cir. Case No. 24-12311 (ECF No. 85).

         To preserve the status quo as this Court awaits resolution by the Eleventh Circuit of the

  similar Emergency Motion, to prevent irreparable harm arising from the circumstances as

  described in the current record in this emergency posture, and to permit an orderly and deliberative

  sequence of events, it is ORDERED AND ADJUDGED as follows:

  1. Pending resolution of the Emergency Motion filed in the Eleventh Circuit and/or any further

     direction from the Eleventh Circuit, Attorney General Garland, the Department of Justice,

     Special Counsel Smith, all of their officers, agents, and employees, and all persons acting in

     active concert or participation with such individuals, see Fed. R. Civ. P. 65(d)(2), are

     TEMPORARILY ENJOINED from (a) releasing, sharing, or transmitting the Final Report

     or any drafts of such Report outside the Department of Justice, or (b) otherwise releasing,

     distributing, conveying, or sharing with anyone outside the Department of Justice any

     information or conclusions in the Final Report or in drafts thereof. This Order remains in effect

     until three days after resolution by the Eleventh Circuit of the Emergency Motion, unless the

     Eleventh Circuit orders otherwise.

  2. Defendants Nauta and De Oliveira shall promptly file a Notice in this Court advising of any

     activity by the Eleventh Circuit related to the Emergency Motion, and shall thereafter file

     copies of any such orders or motions in the electronic docket.

  3. The Clerk is directed to promptly TRANSMIT A COPY of this Order to Attorney General

     Garland, Special Counsel Smith, the United States Attorney for the Southern District of

     Florida, and the Clerk of the Eleventh Circuit for filing in 11th Circuit Appeal No. 24-12311.




                                                   2
Case 9:23-cr-80101-AMC Document 682 Entered on FLSD Docket 01/07/2025 Page 3 of 3
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 36 of 71
                                                CASE NO. 23-80101-CR-CANNON


  4. This Order shall not be construed as a final ruling on the merits of the Emergency Motion,

     which remains pending before this Court subject to any directives from the Eleventh Circuit.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of January

  2025.

                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE




                                                 3
USCA11 Case: 24-12311   Document: 103   Date Filed: 01/11/2025   Page: 37 of 71




                        Addendum B
USCA11
USCA11 Case:
       Case: 24-12311
             24-12311         Document:
                              Document: 103
                                        100-1 Date
                                                Date
                                                   Filed:
                                                      Filed:
                                                          01/11/2025
                                                             01/09/2025 Page:
                                                                          Page:
                                                                              381ofof71
                                                                                      1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                           ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                         56 Forsyth Street, N.W.
                                         Atlanta, Georgia 30303

David J. Smith                                                                   For rules and forms visit
Clerk of Court                                                                   www.ca11.uscourts.gov


                                       January 09, 2025

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 24-12311-SS
Case Style: USA v. Donald Trump, et al
District Court Docket No: 9:23-cr-80101-AMC

The enclosed order has been ENTERED.

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Clerk's Office Phone Numbers
General Information: 404-335-6100         Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135         Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125            Cases Set for Oral Argument: 404-335-6141



                                                                   MOT-2 Notice of Court Action
USCA11
USCA11 Case:
       Case: 24-12311
             24-12311    Document:
                         Document: 103
                                   100-2 Date
                                           Date
                                              Filed:
                                                 Filed:
                                                     01/11/2025
                                                        01/09/2025 Page:
                                                                     Page:
                                                                         391ofof71
                                                                                 2




                                    In the
                 United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                 No. 24-12311
                           ____________________

        UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellant,
        versus
        WALTINE NAUTA,
        CARLOS DE OLIVEIRA,


                                                  Defendants-Appellees.


                           ____________________

                  Appeal from the United States District Court
                      for the Southern District of Florida
                     D.C. Docket No. 9:23-cr-80101-AMC
                           ____________________
USCA11
USCA11 Case:
       Case: 24-12311
             24-12311     Document:
                          Document: 103
                                    100-2 Date
                                            Date
                                               Filed:
                                                  Filed:
                                                      01/11/2025
                                                         01/09/2025 Page:
                                                                      Page:
                                                                          402ofof71
                                                                                  2




        2                      Order of the Court                 24-12311

        ORDER:
             Appellees’ “Emergency Motion for Injunction with Relief
        Requested by January 10, 2025” is DENIED.
               To the extent that Appellant seeks relief from the district
        court’s January 7, 2025, order temporarily enjoining Appellant, Ap-
        pellant may ﬁle a notice of appeal from that order.




                                                        DAVID J. SMITH
                                       Clerk of the United States Court of
                                         Appeals for the Eleventh Circuit

                        ENTERED FOR THE COURT - BY DIRECTION
USCA11 Case: 24-12311   Document: 103   Date Filed: 01/11/2025   Page: 41 of 71




                        Addendum C
 qrstuuÿswxyzÿ{|}u{~uuÿÿÿDocument:
USCA11 Case: 24-12311    ÿÿy103
                                   zÿÿÿÿÿÿDate
                                            wyÿFiled:
                                                 yzÿ01/11/2025
                                                        u{{ÿÿÿÿÿPage:
                                                                       wyzÿ42
                                                                             uÿofÿ~71
                                                                                     uÿ

                                012ÿ45674877ÿ
                                      ÿ                                         ÿ
              0ÿ ÿ0 ÿ  ÿ ÿÿ ÿ
                   ÿ ÿ  0 ÿ  ÿ
                                      ÿ
                                      ÿ
                    ÿ ÿ!"ÿ#$% &ÿ
                                      ÿ
                                         '()*+,*--.//0(()+,&ÿ
                                      ÿ
                                     12ÿ
                                      ÿ
               3 4ÿ  ÿ)+5ÿ% $4!ÿÿ!46$ &ÿ
                                      ÿ
                                         0-0+5)+,7.//0((0072ÿ
                                      ÿ
                                      ÿ
                !+ÿ//0)(ÿ-89:ÿ,;0ÿ+*,05ÿ,),07ÿ*7,8*<,ÿ%9=8,ÿ
                     -98ÿ,;0ÿ9=,;08+ÿ*7,8*<,ÿ9-ÿ"(98*5)ÿ
                                      ÿ
                                      ÿ
               0ÿÿ> 0ÿÿ0?0 0ÿ
                                      ÿ
                                      ÿ
  ÿ                                     A$ÿ#2ÿA!B!ÿ
  ÿ                                        CDEFGEHIJÿKLHMNOÿPQQEQNIFNÿPNNRDFLOÿ
  ÿ                                           SLFLDIJÿ
                                        # $TUBÿ4 '!ÿ
                                           VFENLWÿXNINLQÿPNNRDFLOÿÿ
                                        # $Tÿ$2ÿ"$# ÿ
                                           PHHLJJINLÿXNIYYÿ
                                           ZE[EJÿKE[EQERF\ÿ]RR^ÿ_`abÿ
                                           VcXcÿKLHIDN^LFNÿRYÿdMQNEGLÿ
                                           b`eÿCLFFQOJ[IFEIÿP[LFMLÿfgÿ
                                           gIQhEFiNRF\ÿKZÿje`keÿ
                                           ljejmÿ̀anò_anÿ
                                           ÿ
                                                                                ÿ
 ABCDEECGHIJKLMEKNEE Document:
USCA11 Case: 24-12311OPQRSITUJ103
                               VW OGUIXY
                                  Date  ZI[JW01/11/2025
                                       Filed: E\W]\KWK^ _G`IJE43KPofaN71E
                                                        Page:


                                             2345689 8 26 2
                                                                                                                                    


!"#
 $$%&$'()*$+$,-..-$(/0-$0$$/'/++-.1(*2.*(/'(/3/$0-$(+4
     $(/./+(+5
 /3/$0-$(+4/6-)$)$7.7&6/$(+./8)(9*&(!/.)(:
 9)+*&.(;9*&<0/3&+//3/$0-$(+4$=)(-()*$(*/6-$0>
?;#
"@"@!2?"
ABCDEECGHIJKLMEKNEE Document:
                    OPQRSITUJ103
USCA11 Case: 24-12311         VW OGUIXY
                                 Date  ZI[JW01/11/2025
                                      Filed: E\W]\KWK^ _G`IJE44NPofaN71E
                                                       Page:


                          234567894263
           
   !"# $%&' !
%($ &)*' +
, &'- +, $ 
)*.- -"# - "
      +/-01    -
!" % )*
+, &- '" )*
0. "2 3  %.
4#   5656
&7%'"2 0 %.
8 9%# 3.10 4
  1   &%# %'"
     +, 2 3 % -
05:%")"*";<66"=&'   -
 >?-  -  "@
.$! 9# 3.1 +
, 1   %1 0
-2 0  
")  -12 00-  .- 
9:;<==;?@ABCDE=CF== Document:
                    GHIJKALMB103
USCA11 Case: 24-12311         NO G?MAPQ
                                 Date  RASBO01/11/2025
                                      Filed: =TOUTCOCV W?XAB=45DHofYF71=
                                                       Page:


34564789 4634999694 4384849494
66386448946334493444998 834449
698368938 84!78 6 "!66646834763434
 6694346944698934689 443636486966943
76694#434976443694499$69434"!44496
346484499$44349 8689% &49 683$6943549689&
'( 8394 )4943)396436984*4+69483,6464  6-
9434 463343 434.6484499$3669384469/8"
01%6649"
         #4499$34696934934768436"#4499438
34 4( 8394 )49438 449.869438344699 8368984
+69483%6969 84294&76984&34449344
384689 38 4468946936989&#""#44994
9#426546354988965 4694346958484+69483&
874543&9839 644838(36466696978.6 463
69683 839346476344 86"48378434 49 4 6
839 8436943443 8448 834448 84294"
        #449983464344636  446894797
8694"!479644838 34 48949689696436
  3646964"8699 4549&434966334459 8489 689
43464% 496984+69483 4( 8394 )4943"!4636
                                    1
?@ABCCAEFGHIJKCILCC Document:
                    MNOPQGRSH103
USCA11 Case: 24-12311         TU MESGVW
                                 Date  XGYHU01/11/2025
                                      Filed: CZU[ZIUI\ ]E^GHC46\Nof_L71C
                                                       Page:


3456789 9 9979 937 79 7 789 475646774497
46794 473945 794984634597646 449
79369933346986596 67 74579365794 87
3945 566  76 977 934979!9"467747
7746#676$6 977 7 97693734567%637466&'(
!")*++($3&$,49 435 7794-&.7 7 4/79456774
499 473794 73945 85777746#6%574697
74 397674 /536467593011345)*++6$3&7'(8)9+6
 47 4 935  9 46 794877746#676 9
77947 /59364:45 ;49  7%36 9
 9;7457 47 776
        7% 4794 457646 9;44974779
465676 63979794 9794567878 97 776375657
77794567 /369 97 4794 7797645794 4795794
 457746 $7697 33456746756 4567&
; 97693734567399 77977 466953794 6696446794
47!9"46789359:45 < 8,6 9 93757976 76
645794 7=796359747= 63>479485 7=7
96359746647698-/7*('7'$ 94 977&8 77 7%
6 4794 46 6369,6 9  94679456753774
 9637964 7=79635978-34571;8 97 776375
                                    1
^_`abb`defghijbhkbb Document:
                    lmnopfqrg103
USCA11 Case: 24-12311         st ldrfuv
                                 Date  wfxgt01/11/2025
                                      Filed: bytzyhth{ |d}fgb47~mofk71b
                                                       Page:


34564787898 897638344789868  7889488344437
 338489463879677 343894783863884
89478386387843368
                                !"#$%&'()
      +,43848 -6784346876893.489488344438
 8 /4674843744 3478864343834734
36784701123456788+994/46743468763894334
898:;<889467 894/467473=9437947934894
883444389  4834384>89437468348
4773494894/4674?@AB67883CD9948834443894
978947348848434948943:634474 894743438764
894684347888944>84889834474689 44
3478387?@AB6788ECD
      2/4674/89 7848948834443847884
438 88437F 4 89488344F343GHHHEI2822JKKLMNOP1NOLR
SLTNUB0PMOTVW0K1XMVYZL[NW1Y\CDCG+32822D997447887347684
87438437468799484839989788 374744
898]34748I44893663484844743 8 8
934936G 68 ,4F4389684687 678368
 73878368 344  = 747884487,=8
                                   1
;<=>??=ABCDEFG?EH?? Document:
                    IJKLMCNOD103
USCA11 Case: 24-12311         PQ IAOCRS
                                 Date  TCUDQ01/11/2025
                                      Filed: ?VQWVEQEX YAZCD?48[Jof\H71?
                                                       Page:


31456789 98 87 9 9 86 9898878786  787
869776786789 974
        56869689869898 97  86
89 74986787997  788699978
98699869898 974
        !4"8#985 $%8986&979 9 86
99869898 97456&97798686
 8$7786 9 97869 98 877985 986978
   79879 86777886868  784'999886 77
86 87 886(4&4"8886&86 9898)974
        *456&977 7986)97'886"88
+7,9 78 8-897894.34)4'4/0114323249
   878953456)97'8788 9868778  86
988 88689 77 86 8 88668 788
86998978986799  874
        +9 86 7988678 8$789,9979787
786787898678 89868886&97$
97829 9867'87 8&978$7
&9767 $978398667 98678&97
& 9867  8786978,9 78 8
78949 78 78$7 77 878867 86:
                                     1
ABCDEECGHIJKLMEKNEE Document:
                    OPQRSITUJ103
USCA11 Case: 24-12311         VW OGUIXY
                                 Date  ZI[JW01/11/2025
                                      Filed: E\W]\KWK^ _G`IJE49]PofaN71E
                                                       Page:


345676896 463 966633643
 663646 6 666 633 !3 6"6 64 63 
#3 3 669! 679663 6$6736736
 68669!$6736%3673643  66646
 3333643 &66'667(83"633 !3 6"6
93 "38634 6)*63 3643 +56,"66636
 3 6"6-386(3. 63!"38666" 3 68/
      0,1!1 6)*63 673863646+
56,"64668667!833 6773 6623633 6
$6736438 8 6)*63 3 6# 36!466 6
# 36!466438 66!3 334 6)*63 5215
&66'667(84683336"66 6376633 6
 68646668667!83352178( 683341!5
64646 683366268667!664438 3 
      $3 !964363331!5 6773 636 
9:;663334 68667!3346 66"6 7<3
!4 6673438 66"6 7="33"68634476
 683!6336438 663  6)*63 936 6
568634176=5217( 6366746  393
3968:;64467 66!46 6339! 66"6 734
  68667!336 66"6 7363 66=>?@.68
                                 1
=>?@AA?CDEFGHIAGJAA Document:
                    KLMNOEPQF103
USCA11 Case: 24-12311         RS KCQETU
                                 Date  VEWFS01/11/2025
                                      Filed: AXSYXGSGZ [C\EFA50RLof]J71A
                                                       Page:


34566789 73878583678767753734645665675
7366367663777 7366736786656387367
3678553674756367 477!3653"# 5 745
7857376536$766385765%73467 7%76556&'()6
* 738785836887 4+436533 567%7653"# 5 745
785
       , -677%753.1"36%347367736#776456678
677537636766377735676#56.657/76476
657"67663777858367%57#677367375664553
0771347 #38576737387786268/7-5%75"8
77637466774578577376536"677537
735785 53%77667636766377766"35676#56
/7647635"1347 #33836757778# 576757
 745785& 775376773578664536%347
4554567675876556533#56778373563"35676#567678
/76476657"8#7 %73%587878678%75331347 #366
5876557765534653667458773 5765678345
85377877354583787,979&
       35676#56677537+734478653"8367/5656
3358:3711;"67663777837365678634<71347
  #336757365# 5767756268/7-5%75745
                                     1
ABCDEECGHIJKLMEKNEE Document:
                    OPQRSITUJ103
USCA11 Case: 24-12311         VW OGUIXY
                                 Date  ZI[JW01/11/2025
                                      Filed: E\W]\KWK^ _G`IJK51WPofaN71E
                                                       Page:


34567589 7578584757544754347547
4646475 447543 467585!856"#!56
4467575 4$4345737%746%!64
67475758&844743345674 47%4647%4
 4745565758'4%44(456454)677!
744474754 35474*4568444537%77585!
3%744447543+5459,-./1999012293&944646
475 47%4376467746584754747
46 7575475 5644747463%7674
  564 414&9
      4546%444 54!5454754563%7!444 4654
56477%45849 46546455755!7575
47463%7674 564 414&9
                           789:;<=>
      $44565+4*444845!75#574474 6%46457469
  444347545 574677543 44 54!
5454644565+544*4 45#757545$4345 5775
79456%4444 54!545464475465 4444
3%7 447543 43%774644565+4475
3456758@ 4 454543446758875644565@5
75#5757 5544!34644565+7544475487! 4
                                  1
STUVWWUYZ[\]^_W]`WW Document:
                    abcde[fg\103
USCA11 Case: 24-12311         hi aYg[jk
                                 Date  l[m\i01/11/2025
                                      Filed: Wnion]i]p qYr[\]52Wbofs`71W
                                                       Page:


3456578943 5788576 7874685757846 7846 459
5449874457 854 787 4877 9 84
47 748946 53957 96 7 9539!4" 74#446
  53957 96 $ 936 64 " 7457 68774 345
8 " 49 7 6 4736 57838 545334
6 48457%735787 68 39848457 854446 473
95585757 54533448457 47 7489 5 557 
& 3589" 79'5789( 4
)* ,-)-./-0123-)45-67887-19:7-:5--9094478;13<831901
        =9>9-:7-14?)-1989414
         787859 89587 7596 757%735 49587575589
684 @7 787  47 & 3589" 7946
48765575'5789( 4 47 7489ABBC D544E8
 7 487 7 7878  545334 7%5785748F
 846 7894874578 55787 953498  '5789( 4G7
4 7 476 785  5453348 & 3589" 79$ 9
487655'5789( 4 47 74897 8495487HIJJ 648
K8784LMJMNOPJ8HFM9 545334835748
    895774 86 48457%7357844574876557  '5789( 4
Q5   846 7K53ROPM8M 545334574 4
44857 & 3589" 795748F 846 7894876589 47
                                     1
ABCDEECGHIJKLMEKNEE Document:
                    OPQRSITUJ103
USCA11 Case: 24-12311         VW OGUIXY
                                 Date  ZI[JW01/11/2025
                                      Filed: E\W]\KWK^ _G`IJK53KPofaN71E
                                                       Page:


4565789 769568957859575 7654565789487986
 655566 86872 675!556"68786#66
#
       $558755686%98#75#57566"657595578576
8& 76545657894879865786#8'5(568957)##5859
*9+86575*75"55568665556, 7755755
#89576#56 - 1 .87566 775 765
4565789487986 ##556765657 5/587#56%7#689
756 , 657657' 75"555686088%86/5
19578%7#689855 76545657898875552589, 659%
75 ##568683 9#5$ 56895796*5*99
759585955 8575#86566 4556, 78229:;$575
575756 7' 75"555686866 *87866"668865
  7654565789
         5568957 #75 9#5 3 9#51655
<956,85 657686675985756*7*52589, 6596
=866/,868 7693 9#5165567557557088 7/5
19578 757*555565 78758865# 3 9#5$ 65765
 7#68965866#56867 556652576/7
9788865568608886/519578859987#575568686
6>7556?595$7# $5 7654565789%557#686687@5
                                    12
GHIJKKIMNOPQRSKQTKK Document:
                    UVWXYOZ[P103
USCA11 Case: 24-12311         \] UM[O^_
                                 Date   ÒaP]01/11/2025
                                      Filed:  Kb]cbQ]Qd eMfOPQ54TVofgT71K
                                                        Page:


3456789 5955975799 553454 343553553
 345 55533535334 !"#$$%&'345
335(55 9353 5975345!9"563 9895 
  5 558345 4 5 ")585345*75 +535
,7  335567733 53 3363535393-5345
455353349595.7553345/56 353995 3 07
  3635358"795#&5'599 35958 735
3455 5  9895 5  5955/55345
 9 895 936507 53455 5799 7 85 5 975
      455998 34 73365353345335(55 91
 5334 565339752543975535553
3 73 /5295  3453 37365534 5/553
 5369789534539544433437907334 73
503553185453345335(55 9163 975
345!9"5633435369 35345553954446 693155
738593533455.7 343675407789::<=>?9@ABCDEE5+
F##&$1'&935 3 .733 335'/553107455
935397545534 5653397525345!9"563
553 54 95539373534 34558534567893
 343 3355535 533453437907334 73
50345595597525
                                 11
LMNOPPNRSTUVWXPVYPP Document:
                    Z[\]^T_Ù103
USCA11 Case: 24-12311         ab ZRT̀cd
                                 Date  eTfUb01/11/2025
                                      Filed: PgbhgVbVi jRkTUV55W[oflY71P
                                                       Page:


        4567896 6657 9656678756
96 78776668566766 66!8
"65#$ 585665%6 7587699669 7&9'6
   868556%598%56(9866856 89667675768 8 8765
978664567896 6687 %659669 8)6876
65#
**+ -./.01203456.7280809:;9<7.034:;.=83>?<3@.;83
        '669 796 6599885%6 775 685
77658  6!8"65 6566769AB#1C1DE#&6
8797758#
        1#'669 75%6 6%  6)687687 889
)6876965656 5656557889)6876
565 6F 56G665#6H 869)6776I869887658758678
 876 6866555789669 7J86 7955887
56695%6 7#K866 765%6 75685566  877%68
 8%6)6876J7578778 676596!8"65 6
F 56G665#F 8768756F 56G665 966586 
96565987588 8756768765#
        F %69875858 8776969 6)68767
  5658699596569 68986 698787769756696
987585989 55 6(8 6%8%65876)68
                                  12
QRSTUUSWXYZ[\]U[^UU Document:
                    _`abcYdeZ103
USCA11 Case: 24-12311         fg _WeYhi
                                 Date  jYkZg01/11/2025
                                      Filed: Ulgml[g[n oWpYZ[56n`ofq^71U
                                                       Page:


4567898 97579887897985698
9958885 9797!"295675#6#5
58869$75675#5#9%98869$75797&6757'7(9
)#9456789 58(7(9675785 85 97*87(5745
98999
        +799999778(69959##577(9)#9456789
'99,%5-6#57886795 98568&6(977889.51/
9856898598,577958#5997(-0
!"2$233587#589657985679%9'99
)#9456789 5#957(59698767(9#9#575 947
59#56#6#595585985656%95(##9
99446$589(5%9789#979769879
)#945678985 989994759#58#9#9$89&99989
8##5797846899598569#993:;<=>=?<@AB=C
;<D0E2:?E2F<"1421G/1GH2I44!G1"J9856
98#578'59K9574898589
        K%975799#9(697599778#9899)#9456789
87%##579595%9856755594759#58
8595#5#9997'9758956876985798579L979
7698656559M)788 89#59985
99#975 M689HN)4O21G19)6#99456895(7P9
                                     12
JKLMNNLPQRSTUVNTWNN Document:
                    XYZ[\R]^S103
USCA11 Case: 24-12311         _` XP^Rab
                                 Date  cRdS`01/11/2025
                                      Filed: NèfeT`Tg hPiRST57jYofkW71N
                                                       Page:


4564789 476479 468  6 7879765569 84 86784
67 45 874464 !"#$%&'"()2*21)1+,-1.,/0-
7610-578 45648827 68 1463 468789 476479 68
7816479 864 5065 7)45  )867841 8426  6844
7678 17458645744646 41167978 45 6479747 57
7  4 98445 :448; 8 61 7978  778 4564 4
8 < 641 84 6478
      65 :448; 8 6745 8642871 5645 < 641 84
=47 6879 474545 645744  97 67 68 1 45
< 641 8465 :448; 8 645 566457447 545 4 6 68
789 476479 4 6 57 7864 6564645747785 847845
7 :448; 8 6)>%*?7@AB.C74 848845 68
45 7678 867841 844463 6478 66878 7 7 45
874464  845 < 641 848 77 6478 6457978 45 :448
; 8 6469 45 7 6 7678  4)D*?7EF
@/BB.-0G8 )45 :448; 8 6569 45 6457447 545
47 6 6 4 6 6897445 < 641 845
796474798< 86848H478 445 7678 867841 8445
 71569 8678 845 :448; 8 68645745 
      G8686 )6 569 I678)45 7678 6 6784
65 747448878456445 :448; 8 663 8 64644
                                 12
LMNOPPNRSTUVWXPVYPP Document:
                    Z[\]^T_Ù103
USCA11 Case: 24-12311         ab ZRT̀cd
                                 Date  eTfUb01/11/2025
                                      Filed: PgbhgVbVi jRkTUV58l[ofmY71P
                                                       Page:


4567896684 8 6 989899596869496867598596
858 949 48586746676689 947467 89
684 8 6589 468968467 677498756 !"#$%&
($)$%*+,-#./"0112342504617168194 46946967 85996
9067696859699  67964 4948 49
644 94: 749678;647 946 676968596
  84  98946845<8468 49<46<864
 8 664544(%%=:648>04624?750< 69 4968
896759 968464664:8 67485
45678960985 8649946
       >=464894956746676689 9494867
@ 4A89685<84667B964?9468 6467485
95468C8618;16?74956:496785696
       =46 <8468 867B964?9468 64@9606
 856567464674<64 68944 574?7 49 86
 98446 67B964?9468 604B96;6?95 
 8894 496 67859689 676968596?760898<90864 
 8 9<469768468D067 8968 46 <8:8 86<
  8  9696868 > 98<96746#$#*$E%#"$%"$/F$E%
G/"HI%**67469489988689969468 6788B96
53J1K> 867 7449768 >867B964?9468 69
                                   12
?@ABCCAEFGHIJKCILCC Document:
                    MNOPQGRSH103
USCA11 Case: 24-12311         TU MESGVW
                                 Date  XGYHU01/11/2025
                                      Filed: CZU[ZIUI\ ]E^GHI59[Nof_L71C
                                                       Page:


456578985 8 8868 886588  665
585 5885 6855 6859958
685 858588555675585
6587655!"#$%&4565 8( 587)8586688665
 8868*8+ 8,56-8 888565.68865
 855"+ 88/8588565 6986556568 8758 8
8856+655( 08  88868 857 5 8,56
-8 668 8588 8( 587)8586.885655 8868
*8+7688657507"
      1 8( 587)8586.8868 8,56-8968 8
865886558 65 6 8865898 8
( 587)8586 686! 855# 88658.2"
34","-"5266"478"+ 6 9598557 886585 8
( 587)858665 8865866867658 ,56-8 
  8( 587)8586"( 68 8( 587)8586628 8858,56
-86966898858688698658868*8
:58 7"+ 8( 587)8586.6 7865755658
7 8 9588565592834","-"5266"478"46885 95
  8865 69858558";<<=%&5266">"9898 8
( 587)8586.6 78/588585 8865"(55657
6888565.6855834","-"5266"47888"+ 8598698
                                  12
VWXYZZX\]^_`abZ`cZZ Document:
                    defgh^ij_103
USCA11 Case: 24-12311         kl d\j^mn
                                 Date  o^p_l01/11/2025
                                      Filed: Zqlrq̀l`s t\u^_`60keofvc71Z
                                                       Page:


4567589 554  95 6 9 6595
994 69  9856  59 959 !!"#6
 586586 5694  54$99$ 4567
8 %$8 65956865 456759 95& &'59 6
499 ( 69 958)9 5*6 86 5696
669'%9 5695 65$ 5 856&
69+,,./0 !!1!
1112 456789:;<=59:>?@AB:7ACABAD?ED<7F1DG6<E<69D<9@AHED?
       ( 89696I9 65955 856  6'687
9569956&')6'1!"*59J#%'99 '59&59 9 69
896  9899956999$59  69
6959 969569K 56956L999$995856$6
65
       69%645 9869 6'%4   65699589
 M65I89N546O9856  6'68 5%9
595 6996985646O9595694 P9956
9 8699K 6%9 96956998  699955795
Q6595589 R 6'*59589 R$9 69S56'869 6
6958659 R$9 69T(79%9U8569%6959
9695699565$ 9 5959 8699 '4  '69
869 6 6'9959569
                                   12
rstuvvtxyz{|}~v|vv Document:
                    z {103
USCA11 Case: 24-12311          xz
                                 Date  z{01/11/2025
                                      Filed: v|| xz{61of71v
                                                       Page:


      4567896 666665 56 685698856
69856686956968 56 9 86886656
99 98 6698 985 9698596985656
 85666898668985668856 66!
                           "#$"%&'(#$
      *66666 5 59 685698856696 96
 56 99+698898988  665 56698
96968 56, 86-68698996 8698696
.64  696 6 8 569666.6/86!

                                     06696
                                     203,45!2/644/4
                                       789:;9<=>?@<ABCDEE9EB=:BDBBF8:@C
                                          G@:@8=>
                                     5,0HI4J6K,L/344I
                                       M:9B@NOB=B@EDBBF8:@C
                                      EPQ=8RSTU8@@V=:
                                     5,0H0!W0II5,4
                                       ?98@;BF8XD<<@>>=B@OB=YY
                                       Z9[9>?9[9E9F:XSFFV\]^_
                                       MTOT?@<=8BV@:BFY`AEB9;@
                                       _]a7@::EC>[=:9=D[@:A@bc
                                       c=Ed9:eBF:X?Zfa]ga
                                       hfafi]^jk]\^j
                                       Q=8RTY8@@V=:flAENFmTeF[
n8opoq
                                  12
JKLMNNLPQRSTUVNTWNN Document:
                    XYZ[\R]^S103
USCA11 Case: 24-12311         _` XP^Rab
                                 Date  cRdS`01/11/2025
                                      Filed: NèfeT`Tg hPiRSW62NYofjW71N
                                                       Page:


                     23456762853 72 6823
       !"#$%!&$
'#!()*#+*(+*&+$!,$,-./0(#1$
$$,#2!,"#$%!&$'#!
()*#+*3+*4+$,#/(*$+*5+*6+$!$$#!,789#,
:$$,#3-,,.$,$$#$1

                                       ;<>?@ABCD@EEF?G
                                       8&%H%1"%448&I
USCA11 Case: 24-12311   Document: 103   Date Filed: 01/11/2025   Page: 63 of 71




                        Addendum D
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 1 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 64 of 71


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,             )          Case No. 23-cr-80101- CANNON
                                        )
                    Plaintiff,          )
                                        )
  v.                                    )
                                        )
                                        )
  WALTINE NAUTA, and                    )
  CARLOS DE OLIVEIRA,                   )
                                        )
                    Defendants.         )


                 DEFENDANTS’ MOTION FOR FURTHER STAY IN
                 LIGHT OF ONGOING APPELLATE PROCEEDINGS




              Stanley E. Woodward, Jr.      John S. Irving, IV
              BRAND WOODWARD LAW, LP        E&W LAW, LLC

              Richard C. Klugh              Larry Donald Murrell, Jr.
              KLUGH WILSON, LLC             L.D. MURRELL, P.A.

              Counsel for Defendant         Counsel for Defendant
              Waltine Nauta                 Carlos De Oliveira
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 2 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 65 of 71


         Defendants, through undersigned counsel, hereby move for an order further providing that

  the Court’s January 7, 2025 Order (DE:682), maintaining the status quo pending the resolution of

  proceedings on a separate appellate motion for emergency relief, continues in effect pending

  resolution of all appellate matters arising from such appellate litigation. Alternatively, Defendants

  request that this Court extend its present status quo order to such time as this Court resolves the

  Defendants’ pending emergency request for injunctive relief. Defendants state the following

  grounds in support of this motion:

         1. This Court on January 7, 2025, entered an order temporarily restraining Attorney

             General Garland, the Department of Justice, Special Counsel Smith, all of their officers,

             agents, and employees, and all persons acting in active concert or participation with

             such individuals from (a) releasing, sharing, or transmitting the Final Report or any

             drafts of such Report outside the Department of Justice, or (b) otherwise releasing,

             distributing, conveying, or sharing with anyone outside the Department of Justice any

             information or conclusions in the Final Report or in drafts thereof. DE:682 at 2.

         2. This Court ordered that the stay would remain in effect until three (3) days after

             resolution by the Eleventh Circuit of a separate appellate motion for injunction, unless

             the Eleventh Circuit were to rule that the stay should not continue. Id.

         3. In its response to the appellate emergency motion for relief that was filed in the

             government’s pending direct appeal as to these Defendants in the Eleventh Circuit, the

             government proposed releasing Volume I of the Final Report 1 to the public, and Volume

             II of the Final Report, which contains confidential information regarding this pending



  1
   The Government has not provided the defense with even limited access to Volume I of the Report.
  Court review of both Volumes is warranted in case. Volume I contains information that bears on
  this pending criminal case.


                                                   1
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 3 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 66 of 71


           criminal matter, to the chairmen and ranking members of the House and Senate

           Judiciary Committees, subject to redactions determined only by the Department of

           Justice, without any court process by which the Defendants could lodge objections to:

           release of certain portions of the Report; the conditions under which the Report was

           released; and whether any version of the Report could be released in light of the

           unconstitutional nature of the Special Counsel appointment and the still-pending nature

           of the criminal case.

        4. Defendants argued in reply as to the appellate motion that the dispute over release of

           the Final Report, and particularly the Government’s proposed specialized release to

           Congress, has raised inherently fact-bound questions properly resolved by this Court,

           particularly because this Court will preside over any criminal trial in this matter and

           this Court has previously presided over significant related litigation addressing

           privilege, suppression, grand jury materials, discovery disclosure, protective orders,

           and admissibility of evidence at trial. The Government’s proposed course of action

           presents factual disputes including, but not limited to: whether the Special Counsel’s

           investigation has, in fact, “concluded” and thereby triggered the notice requirement of

           28 C.F.R. § 600.9(a)(3); the likelihood of public disclosure if the Report is shared with

           Congress; the appropriate level of redaction if the Report is shared; whether members

           of Congress who view the Report may say anything about the case or the Report

           publicly; whether members of Congress may disclose to their staff the contents of the

           Report or their reactions thereto; whether the Defendants are still bound by any

           protective order if the dissemination results in the Defendants’ being tried in the court

           of public opinion; and whether there is any recourse if confidentiality is violated.




                                                 2
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 4 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 67 of 71


        5. Indeed, as Defendants also pointed out in their Eleventh Circuit briefing, neither this

           Court nor the Executive Branch can bind Congress. Once the Report is disclosed to

           Congress, this Court will effectively lose its ability to control the flow of information

           related to privileged and confidential matters in a criminal proceeding. That makes

           delaying the issuance of the Final Report until this matter is resolved essential, as there

           will be no way to put the proverbial cat back into the bag after the Final Report is shared

           with Congress, and no way to control congressional speech regarding the pending

           criminal case.

        6. The Eleventh Circuit on January 9, 2025, issued an order denying the Defendants’

           appellate request for injunctive relief by that court, and stated its reasoning as follows:

           “To the extent that Appellant [the Government] seeks relief from the district court’s

           January 7, 2025, order temporarily enjoining Appellant, Appellant may file a notice of

           appeal from that order.” App. Doc. 100-2. By so stating, the Eleventh Circuit clearly

           signaled that it views the questions raised by this dispute as properly before this Court

           in the first instance, and falling well within this Court’s jurisdiction to enforce its own

           orders. The Government literally asked the Eleventh Circuit to vacate the January 7,

           2025 Order, and the Eleventh Circuit refused to do so. For practical purposes,

           Defendants argument in the Eleventh Circuit that the matter belongs initially in this

           Court prevailed, notwithstanding the Government’s mischaracterization of the

           Eleventh Circuit’s Order. Indeed, Defendants argued in the Eleventh Circuit that this

           Court had jurisdiction over the emergency request for relief, and that this matter was

           properly left to the sound discretion of this Court. See United States v. Ellsworth, 814

           F.3d 613, 614 (11th Cir. 1987). See Defendant’s Reply Memorandum, Doc. 93 at 8-9.




                                                 3
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 5 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 68 of 71


           The Eleventh Circuit’s order is thus fairly read as denying the emergency relief because,

           as in Ellsworth, in its view it had “no jurisdiction to rule on its merits” of a question

           “which must be directed to the district court.” Ellsworth, 814 F.2d at 614.

        7. Because the Eleventh Circuit resolved Defendants’ Emergency Motion, the clock on

           this Court’s January 7, 2025, Order has begun to run. The temporary enjoinment

           imposed by this Court is set to expire on and the end of the day on Monday, January

           13, 2025, pursuant Fed. R. Crim. Proc. 45(a).

        8. Since the Eleventh Circuit’s order was issued, the Government has filed an improper

           appeal of the temporary status quo order imposed by this Court, while recognizing in a

           notice filed with the Eleventh Circuit that appellate jurisdiction may be lacking. See

           App. Doc. 101 at 2 n. 1.

        9. The Government has also filed a purported “notice” in the Eleventh Circuit on January

           10, 2025, seeking relief in the nature of a motion requesting rehearing of the resolution

           of the appellate request for injunctive relief (albeit without complying with motion or

           rehearing rules). The Government’s request for rehearing and the Government’s notice

           of appeal reveal that the Government too reads the Eleventh Circuit’s denial order as

           leaving the factual questions to this Court.

        10. Defendants therefore request that this Court extend the temporary restraining order to

           allow this Court to order briefing on and to hold a hearing and to rule on the merits of

           Defendants’ pending emergency request for injunctive relief, the motion for

           intervention, and any response by the Government. This Court presides over the

           criminal matter and is best suited to resolve the questions presented by Defendants’

           request for injunctive relief. Though an appeal of the Court’s current Order is pending,




                                                 4
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 6 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 69 of 71


           the questions presented by the emergency motion do not bear on the merits of the

           appeal—rather, the core issues are whether the Special Counsel actions in preparing

           the Final Report violated this Court’s Order of Dismissal (from which no stay has been

           sought); whether that precludes the Attorney General from releasing the report to

           Congress; and whether confidential information (including privileged material, grand

           jury material, and other evidence in a criminal case) is permissibly released to Congress

           while this case is still pending.

        11. Extension of the temporary enjoinment is warranted based on the Government’s

           attempts to extend litigation in the Eleventh Circuit. Extension of the temporary stay

           is also warranted to allow this Court to hold a hearing and to rule on the emergency

           motion filed in this Court.

        12. Based on the Eleventh Circuit’s ruling, Defendants ask this Court to extend the stay, to

           give it time to hold a hearing and to rule on the defense request for injunctive relief.

        13. Extension of the stay is essential to protect due process interests. Press reporting on

           the Eleventh Circuit’s Order has already misreported the contents of that order, see,

           e.g., Sareen Habeshian, Smith’s Final Report on Trump Cases Can Be Released,

           Appeals     Court     Says,    Axios.com      (January     9,   2025),     available       at

           https://www.axios.com/2025/01/10/trump-appeals-court-jack-smith-report                 (last

           accessed January 10, 2025). If there is already a flow of misinformation about the

           propriety of release of report, it is certainly reasonable to expect a flow of

           misinformation if the Report is released to Congress. And that flow of information will

           violate Defendants’ due process rights to a fair trial. This Court should thus act to

           preserve the status quo, and to ensure that any release of any information related to a




                                                 5
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 7 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 70 of 71


            pending criminal trial—if it is permissible in the first instance—is only done pursuant

            to an orderly court process. The government’s hailstorm of frantic filings seeks to

            release this Report as soon as possible, at any cost to the individual due process interests

            of these criminal defendants. But that approach risks lengthening and complicating

            judicial process by raising the substantial possibility that Defendants are back before

            this Court following an impermissible leak of material. Once highly privileged and

            highly confidential information enters the public domain—as a result of the politically

            motivated eleventh-hour haste of the Executive Branch and the disqualified Special

            Counsel—it will be impossible to cure the constitutional rights violation that results.

            This Court should therefore take steps to ensure an orderly process in the face of the

            Executive Branch and the unauthorized Special Counsel doing everything it can to

            disrupt order, disrupt process, and divert from this Court the responsibility to oversee

            the criminal trial.

        WHEREFORE, Defendants Waltine Nauta and Carlos De Oliveira ask this Court to extend

        its temporary enjoinment restraining the DOJ from distributing, sharing or otherwise

        disclosing the Report until and at which time this Court has ruled on Defendants’ request

        for injunctive relief.




                                                   6
Case 9:23-cr-80101-AMC Document 689 Entered on FLSD Docket 01/10/2025 Page 8 of 8
  USCA11 Case: 24-12311 Document: 103 Date Filed: 01/11/2025 Page: 71 of 71


  Dated: January 10, 2025           Respectfully submitted:


  /s/ Stanley E. Woodward, Jr.                      /s/ John S. Irving, IV
  Stanley E. Woodward, Jr. (pro hac vice)           John S. Irving, IV (pro hac vice)
  BRAND WOODWARD LAW, LP                            E&W LAW, LLC
  400 Fifth Street NW, Ste 350                      1455 Pennsylvania Ave NW, Ste 400
  Washington, DC 20001                              Washington, DC 20004
  (202) 996-7447 (telephone)                        (301) 807-5670 (telephone)
  stanley@brandwoodwardlaw.com                      john.irving@earthandwatergroup.com

  /s/ Richard C. Klugh                              /s/ Larry Donald Murrell, Jr.
  Richard C. Klugh                                  Larry Donald Murrell, Jr.
  Fla. Bar No. 305294                               Fla. Bar No. 326641
  KLUGH WILSON, LLC                                 L.D. MURRELL, P.A.
  40 N.W. 3rd Street, PH1                           400 Executive Center Drive, Ste 201
  Miami, FL 33128                                   West Palm Beach, FL 33401
  (305) 536-1191 (telephone)                        (561) 686-2700 (telephone)
  klughlaw@gmail.com                                ldmpa@bellsouth.net

  Counsel for Defendant Waltine Nauta               Counsel for Defendant Carlos De Oliveira




                                                7
